                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:11-cr-2
v.                                                  )
                                                    )       MATTICE / LEE
MURIEL L. DAVIS                                     )

                                           ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the three-count

Indictment (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) Defendant has been released on bond

under appropriate conditions of release pending sentencing in this matter [Doc. 40]. Neither party

filed a timely objection to the report and recommendation. After reviewing the record, the Court

agrees with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

and ADOPTS the magistrate judge’s report and recommendation [Doc. 40] pursuant to 28 U.S.C.

§ 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;



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      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

            pending sentencing in this matter, which is scheduled to take place on Monday,

            October 3, 2011 at 9:00 a.m. [EASTERN] before the Honorable Harry S. Mattice,

            Jr.

      SO ORDERED.

      ENTER:


                                                     /s/Harry S. Mattice, Jr.
                                                     HARRY S. MATTICE, JR.
                                                UNITED STATES DISTRICT JUDGE




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